                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                               Doc. No. 3:95-cr-00005
                                    3:07-cv-438
 UNITED STATES OF AMERICA,                         )
                                                   )
                Plaintiff,                         )
                                                   )
        vs.                                        )                  ORDER
                                                   )
 IN RE MARC PIÉRRE HALL ,                          )
                                                   )
                Defendant.                         )
                                                   )

       THE MATTER is before the Court on several filings of Defendant, including: (1) “Motion

to Amend Judgment and Reconsideration” (Doc. No. 668 in 3:95-cr-00005); (2) “Motion Pursuant

18 U.S.C. § 3582(c)(1)(A); and (c)(2) for reduction of sentence due to ‘an unusual case of changed

circumstances’” (Doc. No. 706 in 3:95-cr-00005); (3)“Motion for Judicial Notice 28 U.S.C. § 201

and Motion in Bar Fully Incorporated to Motion 18 U.S.C. § 3582(c)(2) and Request Sua Sponte

Corrections” (Doc. No. 709 in 3:95-cr-00005); (4) “Motion to Reduce Sentence Pursuant to 18

U.S.C. § 3582(c)(1)A; 3582(c)(2)” (Doc. No. 701 in 3:95-cr-00005 ); (5) “Motion to Reduce

Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A); § 3585(C)(2)” (Doc. No. 711 in 3:95-cr-00005 );(6)

“Rule 60(b) Motion” (Doc. No. 713 in 3:95-cr-00005); and (7)“Motion Pursuant to Rule

60(b)/59(e)” (Doc. No. 4 in 3:07-cv-00438).

       Petitioner has already filed a petition pursuant to 28 U.S.C. § 2255. See Hall v. United

States, No. 3:95-cv-61 (W.D.N.C. October 10, 2001). This Court granted summary judgment for

the Government and dismissed the motion to vacate. Id. Furthermore, the Fourth Circuit Court of

Appeals dismissed the appeal of that ruling in United States v. Hall, No. 01-7871, No. 01-7893




      Case 3:95-cr-00005-FDW           Document 714         Filed 11/09/07       Page 1 of 3
(unpublished) (4th Cir. February 11, 2002), and subsequently denied Petitioner’s petition for writ

of certiorari in that matter, Hall v. United States, No. 02-5100 (unpublished) (4th Cir. October 7,

2002).

         Additionally, the record is clear in this case that Petitioner, on numerous occasions, has

attempted to file successive applications for relief from his sentence. In every instance, this Court

and the Fourth Circuit Court of Appeals either dismissed or denied Petitioner’s request for relief.

See In Re: Marc Pierre Hall, No. 99-6882 (unpublished) (4th Cir. December 27, 1999) (denying

Petitioner for Writ of Mandamus regarding Petitioner’s judgment and conviction order and pre-

sentence investigation report); United States v. Hall, No. 99-6547, No. 99-61-3 (unpublished) (4th

Cir. February 22, 2000) (dismissing appeal); United States v. Hall, No. 00-6597 (unpublished) (4th

Cir. October 2, 2000) (affirming district court’s order denying Petitioner’s request to convene a

special grand jury under 18 U.S.C. § 3332); United States v. Hall, No. 3:95-cr-05-01, No. 3:99-cv-

61, (W.D.N.C. January 31, 2001) (denying motion for reconsideration); In Re: Marc Pierre Hall, 07-

177 (denying motion pursuant to 28 U.S.C. § 2244 for authorization to file a successive application

for relief). On October 16, 2007, this Court dismissed Defendant’s “Motion and Supplement

Pleadings Pursuant 18 U.S.C. § 3582(a)(1)(A); (c)(2), (PSR) challenges In Leave of Court” (Doc.

No. 703) and denied Defendant’s Motion to Appoint Counsel (Doc. No. 704).

         Here, the Court has reviewed the record for error and finds that all seven motions currently

pending before the Court are wholly without merit and, furthermore, are frivolous. Moreover, the

record is clear that Defendant has made numerous frivolous filings to this Court. Prisoners do not

have an absolute and unconditional right of access to the courts in order to prosecute frivolous,

malicious, abusive or vexatious motions. Demos v. Keating, 33 Fed. Appx. 918 (10th Cir. 2002);

Tinker v. Hanks, 255 F.3d 444, 445 (7th Cir. 2001); In re Vincent, 105 F.3d 943 (4th Cir. 1997).



         Case 3:95-cr-00005-FDW          Document 714        Filed 11/09/07      Page 2 of 3
Defendant is hereby warned that future frivolous filings will result in the imposition of a

pre-filing review system. Vestal v. Clinton, 106 F.3d 553 (4th Cir. 1997). If such a system is

placed in effect, pleadings presented to the Court which are not made in good faith and which do not

contain substance, will be summarily dismissed as frivolous. Foley v. Fix, 106 F.3d 556 (4th Cir.

1997); In re Head, 19 F.3d 1429 (table), 1994 WL 118464 (4th Cir. 1994). Thereafter, if such

writings persist, the pre-filing system may be modified to include an injunction from filings.

See 28 U.S.C. §1651(a); In re Martin-Trigona, 737 F.2d 1254 (2d Cir. 1984).

       IT IS, THEREFORE, ORDERED that Defendant’s Motions (Docs. Nos. 668, 706, 709,

710, 711 & 713 in case no. 3:95-cr-00005 and Doc. No. 4 in case no. 3:07-cv-00438) are DENIED.

       IT IS SO ORDERED.
                                                 Signed: November 9, 2007




      Case 3:95-cr-00005-FDW           Document 714         Filed 11/09/07     Page 3 of 3
